was of opinion for the plaintiffs, and directed the jury to find for them, which they did; and there was judgment for the plaintiffs, after a new trial had been moved for.
NOTE. — See Sutton v. Wood, 1 N.C. 399; Bryson v. Davidson, 5 N.C. 143;Pendleton v. Pendleton, 6 N.C. 82; Wooten v. Shelton, ibid., 188; Jones v. Spaight, 4 N.C. 157; Davidson v. Davidson, 8 N.C. 163;Sanders v. Hyatt, ibid., 247; Bailey v. Davis, 9 N.C. 108; Beasley v.Whitehurst, ibid., 437. By the act of 1827 (1 Rev. Stat., ch. 122, sec. 11) the law on this subject is altered.
Cited: Rice v. Satterwhite, 21 N.C. 71; Buchanan v. Buchanan,99 N.C. 311.